Case 1:00-cr-00761-JSR Document 372-1 Filed 07/31/20 Page 1 of 3




                   Exhibit A
    Case 1:00-cr-00761-JSR Document 372-1 Filed 07/31/20 Page 2 of 3




Name: RODRIGUEZ, Diego
Reg. No.:  49597-054
Unit:  Unit 3B
Page 1

                Inmate Request to Staff Response

This is in response to your May t], 2020, Inmate Request to Staff,
wherein you request a Compassionate Release/Reduction in Sentence
(RIS) based upon Medical Circumstances . Specifically, you claim to
be at very high risk for not surviving if you contract COVID-19.

Title 18 of the United States Code, section 3582 (c) (1) (A) , allows
a sentencing court, on motion of the Director of the BOP, to reduce
a term of imprisonment for extraordinary or compelling reasons.    BOP
Program Statement No. 5050.50, Compassionate Release/Reduction in
Sentence: Procedures for Implementation of 18 U.S.C. §§
3582(c) (1) (A ) and 4205(g), provides guidance on the types of
circumstances that present extraordinary or compelling reasons, such
as the inmate's terminal medical condition; debilitated medical
condition; status as a "new law" elderly inmate, an elderly inmate
with medical conditions, or an "other elderly inmate"; the death or
incapacitation of the family member caregiver of the inmate's child;
or the incapacitation of the inmate's spouse or registered partner.
Your request has been evaluated consistent with this general
guidance.

Your request. . fqr Sompassionate Release/RIS has been reviewed.   O~r
records indicate you are 54 ' years· old.    our medical record does.
indicate you suffer. from a chronic or serious medical condi_~ on, ;
however, you are not disabled or unable to perform activities of daily
living . Your condition does not diminish your ability to function
in a correctional environment. The BOP is taking extraordinary
measures to contain the spread of COVID - 19 and treat any affected
inmates. We recognize you, like all of us, have legitimate concerns
and fears about the spread and effects of the virus. However, your
concern about being potentially exposed to, or possibly contracting,
COVID-19 does not currently warrant an early release from your
sentence .

Accordingly, your request for Compassionate Release/RIS is denied .
If you are not satisfied with this response to your request, you may



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appeal this decision through the Administrative Remedy Process.


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                                           Warden
       Case 1:00-cr-00761-JSR Document 372-1 Filed 07/31/20 Page 3 of 3



RODRIGUEZ, Diego
Reg. No.:  49597-054
Appeal Number:   102 7969 -Fl
Page 1

                                Part B - Response

This is in response to your Request for Administrative Remedy received
on June 19, 2020, in which you are appealing the June 11, 2020, denial
of your request for a Compassionate Release/Reduction in Sentence (RIS ) .

Your request for Compassionate Release / Reduction in Sentence (RIS ) was
reviewed and denied on June 11, 2020. Although you have medical
concerns, you are not disabled or unable to perform activities of daily
living.  In addition, your condition does not diminish your ability to
function in a correctional environment. The Bureau of Prisons (BOP) is
taking extraordinary measures to contain the spread of COVID-19 and treat
any affected inmates . While I understand your concerns, your request
does not meet the criteria established in accordance with Program
Statement 5050.50, Compassionate Release /RIS.

Therefore, based on the above information, your Request for
Administrative Remedy is denied.

If you are not satisfied with this response, you may appeal to the Regi onal
Director, Federal Bureau of Prisons, Northeast Regional Office, U.S .
Customs House, 2nd and Chestnut Streets, 7th Floor, Philadelphia,
Pennsylvania, 19106, within 20 calendar days of this response.




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